Case 5:19-cv-01074-FMO-SHK Document 18-4 Filed 08/19/19 Page 1 of 7 Page ID #:186




                             Exhibit D
Case 5:19-cv-01074-FMO-SHK Document 18-4 Filed 08/19/19 Page 2 of 7 Page ID #:187


                                        CRESCENT
                                    323 N CRESCENT DR
                              BEVERLY HILLS, CA 90210-9997
                                       050667-0410
                                       (800)275-8777
                                    08/13/2019 02:52 PM




                       Product               Qty       Unit     Price
                                                    Price

                       PM 3-Day              1      $10.40     $10.40
                            (Domestic)
                            (COLORADO SPRINGS, CO    80915)
                            (Welghtil Lb 0.30 O2)
                            (Expected Del ivery Day)
                            (Friday 08/16/2019)
                        Certified                               $3.50
                            (USPS Certified Mai l #)
                            (70183090000189190839)
                        Return Receipt                          $2.80
                            (USPS Return Receipt #)
                            (9590940225316306623285)
                        PM 3-Day             1      $10.40     $10.40
                            (Domestic)
                            (COLORADO SPRINGS, CO 80915)
                            (Weight:1 Lb 0.40 Oz)
                            (Expected Delivery Day)
                            (Friday 08/16/2019)
                        Certified                               $3.50
                            (USPS Certified Mall #)
                            (70190140000014883259)
                        Return Receipt                          $2.80
                            (USPS Return Receipt #)
                            (9590940225316306623292)

                        Total :                                $33.40



                        Credit Card Remitd                     $33.40
                            (Card Nanie:AMEX)
                            (Account #:KXXXKKXXXXX1045)
                            (Approval #:838501)
                            (Transaction #:781)
                            (AID:A000000025010801             Chip)
                            (AL;AMERICAN EXPRESS)
                            (PIN:Not Required)


                        Includes up to $50 Insurance

                        Text your tracking number to 28777
                        (2U$PS) to get the latest status.
                        Standard Message and Data rates may
                        apply. You may also visit www.usps.com
                        USPS Tracking or call 1-800-222-1811.




                                                                           Exhibit D
Case 5:19-cv-01074-FMO-SHK Document 18-4 Filed 08/19/19 Page 3 of 7 Page ID #:188


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                                                                                 Exhibit D
                                U.S. Postal Service™
Case 5:19-cv-01074-FMO-SHK Document
                       CERTIFIED    18-4RECEIPT
                                 MAIL®   Filed 08/19/19 Page 4 of 7 Page ID #:189
                   cr
                   LO
                                Domestic Mail Only
                   ru
                                For delivery information, visit our website at ivwiv.usps.com®.                                      |

                   cQ                                     Ff e                                           iiS'H                       1
                           Certified Mall Fee          fj.Pifl                        i/
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                   CO

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                   iHi
                           Extra Services & Fees (check box, add fee a^^ro^fe)-
                               Q Return Receipt ptardcopy)              $          7. " c'
                    □
                    a
                               □ Return Receipt (electronic)            $   1:0 r UL^,            '         ^^tmark
                               Qrort-rflisH Mall Pofttriritflrt DaHvaiy S   -^.I
                    □
                    □
                               □ Adult signature Required            $                       —i
                               □ Adult Signature Restricted Delivery $
                    CD     Postage                     $10,40
                    I3-
                           $
                    i-=l
                    □
                           Total Postage and                    j j-j
                           35
                    cr

                    in     Stfeet'anBApt. 'No., 'orPO Box No.
                                                       Ci) ^£7CflS
                           City, State,'ZlP+4^

                           1 PS Form 3800, April 2015 psn 7530-02-000-9047                            See Reverse for Instructions




                                                                                                                                         Exhibit D
                                 Certified Maii service provides the following benefits:
                                 ■■ A receipt (this
                                    Areceiot        portion of
                                              fthis nortinn nf the
                                                               thp Certified Mall inh^n
                                                                   HprHfinH Mail  label).     fnr on
Case 5:19-cv-01074-FMO-SHK                  Document
                     ■ A unique Identifier for your maiiplece. 18-4 for an electronic retum receipt,see a retail
                                                                        Filed
                                                                    associate       08/19/19
                                                                              for assistance.                Page 5 of 7 Page ID #:190
                                                                                              To receive a duplicate
                                 ■ Electronic verification of delivery or attempted           retum receipt for no additional fee, present this
                                   delivery.                                                  USPS®-postmarked Certified Mail receipt to the
                                 ■ A record of delivery (including the recipient's             retail associate.
                                   signature)that is retained by the Postal Service™        - Restricted delivery service, which provides
                                   for a specified period.                                    delivery to the addressee specified by name,or
                                                                                              to the addressee's authorized agent
                                 Important Reminders:
                                                                                            - Adult signature service, which requires the
                                 ■ You may purchase Certified Mall service with               signee to be at least 21 years of age (not
                                   Rrst-Class Mali®, Rrst-Class Package Service®,             available at retail).
                                   or Priority Mail® service.
                                                                                       - Adult signature restricted delivery service, which
                                 ■ Certified Mail service Is nof available for           requires the signee to be at least 21 years of age
                                   International mall.                                   and provides delivery to the addressee specified
                                 ■ Insurance coverage is nofavailable for purchase       by name,or to the addressee's authorized agent
                                   with Certified Maii service. However,the purchase     (not available at retail).
                                   of Certified Mail service does not change the     ,
                                                                                       To ensure that your Certified Mail receipt Is
                                   insurance coverage automatically included witti
                                                                                       accepted as legal proof of mailing, It should bear a
                                   certain Priority Mail Items.
                                                                                            USPS postmark. If you would like a postmark on
                                 ■ For an additional fee, and with a proper                 this Certified Mail receipt, please present your
                                   endoreement on the maiiplece, you may request            Certified Mali item at a Post Office™ for
                                   the following services:                                  postmarking, if you don't need a postmark on this
                                   - Return receipt service, which provides a record        Certified Mail receipt, detach the barcoded portion
                                     of delivery (including the recipient's signature).     of this label, affix It to the maiiplece, apply
                                     You can request a hardcopy retum receipt or an         appropriate postage, and deposit the maiiplece.
                                     electronic version. For a hardcopy retum receipt,
                                     complete PS Form 3811, Domestic Retum
                                     ffece/pt:attach PS Form 3811 to your maiiplece; IMPORTAfTR Save this receipt for your records.
                                PS Form 3800,April 2015(Reverse)PSN 7530-02-000-9047




                                                                                                                                                  Exhibit D
                       U.S. Postal Service™
Case 5:19-cv-01074-FMO-SHK Document
                       CERTIFIED    18-4RECEIPT
                                 MAIL®   Filed 08/19/19 Page 6 of 7 Page ID #:191
                       Domestic Mail Only




                      Certified Mail Fee ±7 =!}"}                                    mvi
                                                                     -an
                      Extra Services & Fees(checkbox, add fee
                       □ Return Receipt (hardcopy)
                                                              tfi ■ fin-
                       □ Return Receipt (eleolronlc)
                       □ Certified Mall Restricted Delivery   $1.1, IJiJ
                       □ Adult Signature Required              0   lO.OU
                       □ Adult Signature Restricted Delivery
                                               1LI.4U
                      Total Postage and ems.


                       Sent To

                       Street and Apt. No., or PO Box No
                                                    to
                       City, State, ZIP+4
                                                                           See Reverse for Instructions
                       PS Form 3800, April 2015 PSN 7530-02-000-9047




                                                                                                          Exhibit D
                           Ta         11°              service provides the foilowing benefits-
Case 5:19-cv-01074-FMO-SHK Document 18-4 associate
                                            Filed        08/19/19
                                                   for assistance.                Page 7 of 7 Page ID #:192
                                                                   To receive a duplicate
                                                                                                    .....        ic..cipi,;,ccaieiaii


                           ■ Electronic verification of delivery or attempted         return receipt for no additional fee, present this
                             delivery.                                                USPS®-postmarked Certified Mail receiptto the
                          ■ A record of delivery (including the recipient's           retail associate.
                         ' signature)ttiat is retained by the Postal Service""       Restricted delivery service, which provides
                             for a specified period.                                 delivery to the addressee specified by name,or
                           ImportantReminders:                                       to the addressee's authorized agent
                           ■ You may purchase Certified Mail service wifh          - Adult signature service, which requires the
                             first-Class Mail®, Rrst-Class Package Service®          signee to be at least 21 years of age(not
                             or Priority Mail® service.                              available at retail).
                          ■ Certified Mail service Is oof available for           - Adult signature restricted delivery service which
                             International mail.                                     requires the signee to be at least 21 years of age
                          ■ Insurance coverage Is nofavailable for purchase          and provides delivery to the addressee specified
                            with Certified Mail service. However,the purchase        by name, or to the addressee's authorized agent
                            of Certified Mail service does not change the           (not available at retail).
                            insurance coverage automatically included with       ■ To ensure that your Certified Mall receipt is
                            certain Priority Mali Items.                          accepted as legal proofof mailing, it should beara
                          ■ For an additional fee, and with a proper              USPS pos^ark. If you would like a pos^ark on
                            endorsement on the mailpiece, you may request         this Certified Mail receipt, please present your
                            the following services:                               Certified Mail Item at a Post Office'" for
                            - Return receipt service, which provides a record     postmarking. If you don't need a postmark on tf)is
                              of delivery (including fhe recipient's signature). Certified Mail receipt, detach the barcoded portion
                              You can request a hardcopy return receipt or an of this label, affix It to the mailpiece, apply
                              electronic version. For a hardcopy return receipt, appropriate postage,and depositthe mailpiece.
                              complete PS Form 3811, Domestic Return
                             /?ace/]Df;attach PS Form 3811 to your mailpiece; IMPGRTAHT: Save this receiptfor your reconls.
                         PS Form 3800,April 2015(Reverse)PSN 7530-02-000-9047




                                                                                                                                           Exhibit D
